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                        Attorneys for Plaintiff
                   14
                        HYPER ICE, INC.
                   15
                   16                                   UNITED STATES DISTRICT COURT

                   17                NORTHERN DISTRICT OF TEXAS, FORT WORTH DIVISION

                   18
                   19 HYPER ICE, INC., a California                       CASE NO.
                      corporation,
                   20                                                     COMPLAINT FOR PATENT
                   21                      Plaintiff,                     INFRINGEMENT
                   22             vs.                                     DEMAND FOR JURY TRIAL
                   23
                      PLAYMAKAR, INC., a Delaware                         Trial Date:    None Set
                   24 corporation,
                   25
                                   Defendant.
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                    1            1.        Plaintiff Hyper Ice, Inc. (“Plaintiff” or “Hyperice”) alleges as follows
                    2 for this Complaint for Patent Infringement (“Complaint”) against defendant
                    3 PlayMakar, Inc. (“Defendant” or “PlayMakar”):
                    4                                           THE PARTIES
                    5            2.        Hyperice is a California corporation with its principal place of business
                    6 at 525 Technology Drive, Suite 100, Irvine, California 92618.
                    7            3.        Hyperice is informed and believes, and based thereon alleges, that
                    8 PlayMakar is a Delaware corporation with its principal place of business at 5825
                    9 Park Vista Circle, Fort Worth, Texas 76244.
                   10                                   JURISDICTION AND VENUE
                   11            4.        This is an action for patent infringement under 35 U.S.C. §§ 271 et seq.
                   12 brought by Hyperice against PlayMakar for PlayMakar’s infringement of U.S.
                   13 Patent No. 10,912,708 (“the ‘708 Patent”).
                   14            5.        This Court has subject matter jurisdiction over Hyperice’s claims
                   15 asserted herein pursuant to 28 U.S.C. §§ 1331 and 1338(a) because those claims
                   16 arise under the patent laws of the United States, 35 U.S.C. §§ 1, et seq.
                   17            6.        This Court has personal jurisdiction over PlayMakar, which conducts
                   18 continuous and systematic business in Texas, including in this judicial district.
                   19 Hyperice is informed and believes, and based thereon alleges, that PlayMakar
                   20 maintains its principal place of business in Fort Worth, Texas. In addition, in this
                   21 judicial district, PlayMakar manufactures, offers for sale, sells, and/or uses the
                   22 infringing product at issue in this case and/or actively induces the manufacture
                   23 and/or use of the infringing product and/or contributes to the manufacture and/or use
                   24 of the infringing product.
                   25            7.        Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)
                   26 and 28 U.S.C. § 1400(b) because PlayMakar has committed acts of infringement in
                   27 this judicial district and maintains its principal place of business in this judicial

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                    1                                    GENERAL ALLEGATIONS
                    2            8.        The ‘708 Patent is entitled “Battery-Powered Percussive Massage
                    3 Device” and issued on February 9, 2021, claiming priority to Application No.
                    4 15/902,542 filed on Feb. 22, 2018. A true and correct copy of the ‘708 Patent is
                    5 attached hereto as Exhibit 1.
                    6            9.        Robert Marton and Anthony Katz are the inventors of the inventions
                    7 disclosed in the ‘708 Patent. Hyperice is the owner of the ‘708 Patent.
                    8            10.       This action arises out of PlayMakar’s direct, induced, and/or
                    9 contributory infringement of the ‘708 Patent.
                   10            11.       Since at least 2018, Hyperice has developed, arranged for the
                   11 manufacture of, and sold the Hypervolt line of battery-powered percussive massage
                   12 devices, including the Hypervolt 2 Pro:
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                    1            12.       PlayMakar manufactures, offers for sale, sells, and/or uses the
                    2 infringing PlayMakar MVP Percussion Massager:
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                   15                             COUNT 1 – PATENT INFRINGEMENT
                   16            13.       Hyperice incorporates by reference the allegations in Paragraphs 1-12
                   17 above.
                   18       14.            PlayMakar has infringed and continues to infringe the ‘708 Patent-in-
                   19 suit under the Patent Laws of the United States, 35 U.S.C §§ 271 et seq. PlayMakar
                   20 manufactures, offers for sale, sells, and/or uses the infringing PlayMakar MVP
                   21 Percussion Massager product at issue in this case, and/or actively induces the
                   22 manufacture, sale, and/or use of the infringing PlayMakar MVP Percussion
                   23 Massager product and/or contributes to the manufacture, sale, and/or use of the
                   24 infringing PlayMakar MVP Percussion Massager product.
                   25            15.       PlayMakar infringes at least Claim 7 of the ‘708 Patent. PlayMakar’s
                   26 PlayMakar MVP Percussion Massager product is a battery-powered percussive
                   27 massage device that meets the following limitations, either literally or under the

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                    1 doctrine of equivalents:
                    2                      a.   a main enclosure extending along an axis, the main enclosure
                    3            having a proximal end and a distal end, the main enclosure including a cavity;
                    4                      b.   a motor having a rotatable shaft;
                    5                      c.   a reciprocation assembly coupled to the rotatable shaft, the
                    6            reciprocation assembly including a piston, the reciprocation assembly
                    7            configured to reciprocate the piston along a reciprocation axis in response to
                    8            rotation of the rotatable shaft, the reciprocation assembly positioned within
                    9            the cavity of the main enclosure;
                   10                      d.   an applicator head having a proximal end removably attachable
                   11            to the piston, and having a distal end that extends from the distal end of the
                   12            main enclosure when the proximal end of the applicator is attached to the
                   13            piston;
                   14                      e.   a handle having an outer gripping surface;
                   15                      f.   a battery unit housed at least partially within the handle;
                   16                      g.   a printed circuit board positioned within the handle, the printed
                   17            circuit board including a battery controller that receives electrical power via a
                   18            connector and that selectively charges the at least one battery, the printed
                   19            circuit board having a mounting surface with a peripheral edge;
                   20                      h.   a charge indication display, the charge indication display
                   21            comprising a plurality of light-emitting diodes (LEDs) positioned on the
                   22            mounting surface of the printed circuit board near the peripheral edge of the
                   23            mounting surface, the LEDs generating light responsive to a charge condition
                   24            of the at least one battery unit, the light emitted outward from the LEDs
                   25            toward the peripheral edge of the printed circuit board; and
                   26                      i.   an annular light transmissive ring positioned around the handle
                   27            in alignment with the LEDs to propagate light from the LEDs to the outside

LEWIS              28            of the handle.
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                    1            16.       PlayMakar’s infringement of the ‘708 Patent has caused, and will
                    2 continue to cause, significant damage to Hyperice. As a result, Hyperice is entitled
                    3 to an award of damages adequate to compensate it for the infringement in an amount
                    4 that is in no event less than a reasonable royalty pursuant to 35 U.S.C. §284.
                    5 Hyperice is also entitled to recover prejudgment interest, post-judgment interest, and
                    6 costs.
                    7            17.       As a result of PlayMakar’s infringement of the ‘708 Patent, Hyperice
                    8 has suffered irreparable harm and impairment of the value of its patent rights, and is
                    9 now suffering, and will continue to suffer, the violation of its patent rights unless
                   10 and until PlayMakar is permanently enjoined by this Court from infringing the ‘708
                   11 Patent under 35 U.S.C. §283. Hyperice has no adequate remedy at law and is
                   12 entitled to a permanent injunction against PlayMakar.
                   13                                      PRAYER FOR RELIEF
                   14            WHEREFORE, Hyperice prays for the following relief:
                   15            1.        That this Court enter judgment of infringement of the ‘708 patent in
                   16 favor of Hyperice against PlayMakar;
                   17            2.        That this Court enter temporary, preliminary, and permanent
                   18 injunctions against PlayMakar from infringing the ‘708 patent;
                   19            3.        That this Court award Hyperice compensatory damages for
                   20 infringement of the ‘708 Patent, as well as interest thereon;
                   21            4.        That this Court award Hyperice its costs of suit;
                   22            5.        That this Court declare this an exceptional case under 35 U.S.C. §285
                   23 and award Hyperice its attorneys’ fees and any other costs incurred in connection
                   24 with this action; and
                   25            6.        That this Court grant such further relief as the Court deems just and
                   26 proper.
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                    1 DATED: November 11, 2021           LEWIS BRISBOIS BISGAARD
                                                         & SMITH LLP
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                                                         By:     /s/ Elisaveta Dolghih
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                    4                                          Brian G. Arnold
                                                               Jonathan S. Pink
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                                                               Lawrence R. LaPorte
                    6                                          Attorneys for Plaintiff
                    7                                          HYPER ICE, INC.

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                    1                              DEMAND FOR JURY TRIAL
                    2            Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, HYPER ICE,
                    3 INC. hereby demands a trial by jury of all issues triable by jury.
                    4 DATED: November 11, 2021               LEWIS BRISBOIS BISGAARD
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                    6
                                                             By:     /s/ Elisaveta Dolghih
                    7                                              Elisaveta Dolghih
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                                                                   Jonathan S. Pink
                    9                                              Lawrence R. LaPorte
                   10                                              Attorneys for Plaintiff
                                                                   HYPER ICE, INC.
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